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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


EVELYN SMITH,                                                                      PETITIONER

V.                                                                       NO. 1:06CR0074-WAP

UNITED STATES OF AMERICA,                                                         RESPONDENT


                                 MEMORANDUM OPINION

       This matter comes before the court on Petitioner’s motion to vacate pursuant to 28 U.S.C.

§ 2255. The Government has responded and this matter is now ripe for review.

                             A. Factual and Procedural Background

       On April 25, 2006, Evelyn Smith was named, along with six of her sisters, in a 265 count

indictment for various fraudulent activities occurring over a period of approximately three years.1

On May 26, 2006, Attorney Tom Levidiotis was appointed to represent Smith. On July 6, 2006,

with the assistance counsel, Smith entered into a written plea agreement. On July 14, 2006, Smith

pled guilty to count 219 of the indictment which charged that “defendants, aided and abetted by each

other, did make, utter and publish counterfeit securities, that is bank checks, with the intent to

deceive retail store clerks and Certegy, Incorporated, in violation of Title 18, United States code,

Sections 513(a).” After most of her objections to the presentence report were overruled, Smith was

sentenced to 57 months imprisonment and ordered to pay restitution in the amount of $346,946.00.

The remaining counts of the indictment were dismissed upon the Government’s motion. Smith

timely pursued an appeal. On June 6, 2007, the Court of Appeals affirmed Smith’s sentence and



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           A superseding indictment was entered on May 24, 2006, for essentially the same
charges.
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conviction.

        On November 13, 2007, Smith filed her § 2255 motion asserting six grounds for relief.

Smith’s claims are as follows:

        Ground One              that the court impermissibly enhanced the sentence by using facts not
                                admitted to by Smith;

        Ground Two              that the court erred by ordering restitution greater than the amount
                                charged in the count of conviction;

        Ground Three            that Smith was denied the attorney of her choice;

        Ground Four             the indictment was ambiguous and failed to include an amount of
                                restitution;

        Ground Five             ineffective assistance of counsel based on attorney’s failure to argue
                                Smith’s objections to the presentence report; and

        Ground Six              that Smith misunderstood the charges against her which rendered the
                                plea invalid.

                                       B. Standard for Review

        After a defendant has been convicted and exhausted or waived any right to appeal, “a court

is entitled to presume that [he] stands fairly and finally convicted.” U.S. v. Willis, 273 F.3d 592, 595

(5th Cir. 2001). Accordingly, relief under 28 U.S.C. § 2255 is “reserved for transgressions of

constitutional rights and for a narrow range of injuries that could not have been raised on direct

appeal and would, if condoned, result in a complete miscarriage of justice.” U.S. v. Gaudet, 81 F.3d

585, 589 (5th Cir. 1996). Once a sentence of imprisonment has been imposed, the court’s authority

to reduce or modify the sentence is limited. U.S. v. Lopez, 26 F.3d 512, 515 (5th Cir. 1994). A

criminal defendant seeking relief from his conviction or sentence in a motion to vacate pursuant to

§ 2255 must therefore establish one of the following: (1) his sentence was imposed in violation of

the Constitution or laws of the United States; (2) the sentencing court lacked jurisdiction to impose

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the sentence; (3) the sentence imposed exceeded the maximum authorized by law; or (4) the

sentence is otherwise subject to collateral attack. U.S. v. Seyfert, 67 F.3d 544, 546 (5th Cir. 1995).

         When a defendant raises an issue for the first time during collateral review, he must

ordinarily show both cause for his procedural default and actual prejudice resulting from the alleged

error. Gaudet, 81 F.3d at 589. The “cause and actual prejudice” standard is “significantly more

rigorous than even the plain error standard applied on direct appeal.” Id. The procedural bar does

not apply, however, to a claim which could not have been raised on direct appeal, such as those

alleging ineffective assistance of counsel. U.S. v. Pierce, 959 F.2d 1297, 1301 (5th Cir. 1992).

Conversely, issues raised and disposed of in an appeal from an original judgment of conviction are

not to be considered in collateral § 2255 motions. U.S. v. Webster, 392 F.3d 787, 791 (5th Cir.

2004).

         Ground One: Barred from Consideration

         In Ground One, Smith alleges that the court impermissibly enhanced her sentence by using

facts to which she did not admit. Smith unsuccessfully appealed her sentence and conviction setting

forth a similar argument. See U.S. v. Smith, 230 Fed. Appx. 440, 2007 WL 1655257 (5th Cir. Jun.

6, 2007). The appellate court held, “Smith has not shown that the enhancements applied by the

district court were clearly erroneous.” Id. at *1. Since the claim she now asserts has been

considered and rejected in a direct appeal, the matter cannot be revisited collaterally in a 2255

proceeding. Webster, 392 F.3d at 791. Therefore, the court is barred from reviewing Smith’s

Ground One.

         Grounds Four and Six: Barred by Unconditional Guilty Plea

         It has long been recognized that by entering a guilty plea, a defendant waives all non-


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jurisdictional defects in the criminal proceedings. U.S. v. Sealed Appellant, 526 F.3d 241, 242 (5th

Cir. 2008). A defendant wishing to preserve a claim for appellate review while still pleading guilty

can do so by entering a “conditional plea” pursuant to Rule 11(a)(2) of the Federal Rules of Criminal

Procedure. U.S. v. Stevens, 487 F.3d 232, 238 (5th Cir. 2007). Failure to preserve an issue for

appeal in the written plea agreement generally forecloses appellate review of that claim. Sealed

Appellant, 526 F.3d at 242.

       In the case sub judice, Smith entered an unconditional guilty plea. In other words, her

written plea agreement did not preserve any pre-trial issues resolved adversely to her for appeal.2

Moreover, there is no indication from the proceedings in open court that Smith intended to preserve

any particular issue or issues for appellate review. Cf. U.S. v. Fernandez, 887 F.2d 564, 566 n.1 (5th

Cir. 1989) (sworn statements in open court can overcome the requirement that the conditional plea

be in writing).

       Furthermore, when a defendant raises an issue for the first time during collateral review, he

must ordinarily show both cause for his procedural default and actual prejudice resulting from the

alleged error. Gaudet, 81 F.3d at 589. Smith has made no showing of cause and prejudice.

Accordingly, Smith’s Grounds Four and Six are barred from consideration by both the entry of an

unconditional guilty plea and the procedural default doctrine.

       Ground Two: Restitution

       Smith contends that her sentence should be vacated or modified because the court ordered



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         Smith’s attorney did file several objections to the PSR arguing, inter alia, that her
guideline range had been calculated based upon facts not admitted to by Smith. The argument
was reasserted on direct appeal and denied. Smith realleged this argument as Ground One supra.


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an amount of restitution greater than that charged in the count of conviction. The Government

suggests that the court may not review this claim since it was presented rejected in the direct appeal.

Erring on the side of caution, the court will address the claim.

       The Mandatory Victims Restitution Act (“MVRA”) requires that defendants make restitution

to the victim or victims of certain crimes such as offenses “committed by fraud or deceit.” See 18

U.S.C. § 3663A(c)(1)(A)(ii); U.S. v. Stouffer, 986 F.2d 916, 928 (5th Cir. 1993). Generally, a

district court can award restitution to victims of the offense, but the restitution award can encompass

only those losses that resulted directly from the offense for which the defendant was convicted. See

Hughey v. U.S., 495 U.S. 411, 413, 110 S.Ct. 1979, 109 L.Ed.2d 408 (1990). “Where a fraudulent

scheme is an element of the conviction, the court may award restitution for actions pursuant to that

scheme.” U.S. v. Cothran, 302 F.3d 279, 289 (5th Cir. 2002). On the other hand, “when the count

of conviction does not require proof of a scheme, conspiracy, or pattern . . . the defendant is only

responsible to pay restitution for the conduct underlying the offense for which he has been

convicted.” U.S. v. Maturin, 488 F.3d 657, 660-64 (5th Cir. 2007).

       The Victim and Witness Protection Act (“VWPA”), however, provides an exception to these

general rules.” The VWPA arms the court with discretion to order restitution “for cases in which

the defendant has agreed to a particular award of restitution.” 18 U.S.C. § 3663(a)(3). Pursuant to

the VWPA the court may “order restitution in any criminal case to the extent agreed to by the parties

in a plea agreement.” Id.

       To recap, Smith plead guilty to count 219 of the indictment which involved a fraudulent

check in the amount of $286.26 passed to McRaes Department Store in violation of 18 U.S.C. §




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513(a).3 Based on the 265 count indictment, the presentence report attributed $346,946.00 in losses–

a much larger amount of money– to the fraudulent scheme carried out by Smith and her

codefendants. Thus, the order of restitution is only proper if the count of conviction included as an

element of the offense a “scheme, conspiracy, or pattern of criminal activity,” 18 U.S.C. § 3663A,

or the plea agreement contemplated the amount of restitution ordered, 18 U.S.C. §3663(a)(3).

       Smith pled guilty, making, uttering or possessing a forged or counterfeit security. 18 U.S.C.

§ 513(a). Such an offense is covered by the plain language of the MPVA which includes any crime

involving “fraud or deceit.” See 18 U.S.C. § 3663A(c)(1)(A)(ii). Therefore, the court was required

to impose restitution. But, under the MPVA the amount of restitution can only encompass additional

losses if the count of conviction required “proof of a scheme, conspiracy, or pattern of criminal

activity as an element.” 18 U.S.C. § 3663A(a)(2). It is clear that the statute under which Smith was

convicted does not include a “scheme, conspiracy or pattern of criminal activity” as an essential

element. As a result, to be proper the restitution order must rest on other authority.

       The Fifth Circuit has held that an order of restitution under the VWPA for losses in excess

of those caused by the count of conviction can be supported by a valid agreement. U.S. v. Maturin,

488 F.3d 657, 662 (5th Cir. 2007) (but finding there was no agreement). U.S. v. Cothran, 302 F.3d

279, 288-90 (5th Cir. 2002) (holding that the court may order to restitution outside the count of

conviction). Indeed, several courts have similarly held that restitution may include an amount

greater than that associated with count of conviction. See U.S. v. Blake, 81 F.3d 498 (4th Cir. 1996);


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          The statute provides that “Whoever makes, utters or possesses a counterfeited security
of a State or a political subdivision thereof or of an organization, or whoever makes, utters or
possesses a forged security of a State or political subdivision thereof or of an organization, with
the intent to deceive another person, organization, or government shall be fined under this title or
imprisoned for not more than ten years, or both.” 18 U.S.C. § 513(a).

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U.S. v. Keith, 73 Fed. Appx. 35, 37, 2003 WL 21892519 at *1 (5th Cir. Aug. 8, 2003) (defendant

can be held accountable for entire conspiracy despite plea to only a single instance of fraud); U.S.

v. Schrimsher, 58 F.3d 608 (11th Cir. 1995) (court could order restitution based on dismissed counts

of the indictment where plea agreement was silent but plea colloquy included statement that

restitution would apply); but see U.S. v. Broughton-Jones, 71 F.3d 1143 (4th Cir. 1995) (plea

agreement did not authorize court to impose restitution in an amount greater than offense of

conviction, where agreement never mentioned restitution, and restitution was not addressed during

plea colloquy).

       Here, the plea agreement provided that “the defendant understands and agrees that the Court

may order full restitution of the loss resulting from the offenses covered by the indictment.” Plea

Agree. ¶6 (Jul. 6, 2006) (emphasis added). Though the subject of restitution was discussed at length

at the plea hearing, it is clear that there was a valid agreement as to the possibility and potential

amount of restitution for which Smith may be held accountable. Plea Hrg. pp. 11-21 (Jul. 14, 2006).

The VWPA permits a court to order restitution in any criminal case to the extent agreed to by the

parties in a plea agreement, and such agreements may authorize restitution in an amount greater than

the loss attributable to the offense of conviction. U.S. v. Arnold, 947 F.2d 1236 (5th Cir. 1991)

(restitution was proper for full amount of loss attributable to fraudulent scheme alleged rather than

that represented in count of conviction where defendant agreed to pay “restitution as set out and

ordered by the Court.”). Therefore, the court holds that Smith did in fact agree that she may be

required to make restitution for the full amount of the losses covered in the indictment– up to and

including $356,000 in restitution. Plea Agree.¶6; Plea Hrg. pp. 18:2-13, 21:2-7. Accordingly, the

amount of restitution ordered was proper and does not provide a basis for habeas relief.


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       Grounds Three and Five: Ineffective Assistance of Counsel

       Grounds Three and Five are based upon the effectiveness of Smith’s attorney. When a

defendant collaterally attacks his conviction or sentence based on the effectiveness of his counsel,

he has the burden of proving by a preponderance of the evidence that his constitutional rights have

been violated. Johnson v. Zerbst, 304 U.S. 458, 469, 58 S.Ct. 1019, 82 L.Ed. 1461 (1938); Bruce

v. Estelle, 536 F.2d 1051, 1058 (5th Cir. 1976). In order to demonstrate ineffective assistance of

counsel, a defendant must satisfy the two part test of Strickland v. Washington, 466 U.S. 668, 687,

104 S.Ct. 2052, 80 L.Ed.2d 674 (1984):

               First, the defendant must show that counsel’s performance was deficient.
       This requires showing that counsel made errors so serious that counsel was not
       functioning as the “counsel” guaranteed the defendant by the Sixth Amendment.
       Second, the defendant must show that the deficient performance prejudiced the
       defense. This requires showing that counsel’s errors were so serious as to deprive
       the defendant of a fair trial, a trial whose result is reliable.

A petitioner must satisfy both prongs of the Strickland test to succeed. Id. at 687.

       In Ground Three, Smith asserts that her sentence should be vacated because she was denied

an attorney of her choice. It is a fundamental principle of the legal system, that defendants possess

a right to counsel under the Sixth Amendment. U.S. Const. amend. VI. A defendant who is

financially able to retain counsel can generally freely select an attorney. U.S. v. Gonzalez-Lopez,

548 U.S. 140, 126 S.Ct. 2557, 165 L.Ed.2d 409 (2006). An indigent defendant, however, does not

have a right to any particular attorney. Caplin & Drysdale, Chartered v. U.S., 491 U.S. 617, 109

S.Ct. 2667, 105 L.Ed.2d 528 (1989). Rather, the Sixth Amendment requires that an indigent

defendant be appointed competent and effective counsel. Id. The Fifth Circuit has repeatedly

followed this rule. See U.S. v. Breeland, 53 F.3d 100, 106 n.11 (5th Cir. 1995) (citing cases with




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similar holding). Thus, no further discussion is necessary. Ground Three is meritless.4

       In Ground Five, Smith asserts that her counsel was ineffective because he failed to present

her arguments to the presentence report. Smith never identifies what she proposed to argue.

Similarly, her memorandum also never clearly articulates any specific objection. Instead, the brief

contains citations to and summaries of case-law defining the contours 18 U.S.C. § 513(a)–the statute

under which Smith was convicted. By implication, Smith seems to suggest that her crime was not

federal in nature because the fraudulent transaction does not concern an “organization” as required

under Section 513(a). E.g. U.S. v. Barone, 71 F.3d 1442 (9th Cir. 1995) (“nonexistent shell

companies on whose accounts checks were drawn in course of scheme to utter forged securities were

not ‘organizations’ whose activities affected interstate commerce.”). Presumably, then her attorney

was ineffective because he failed to present this argument to the court.

       First, the case in which Smith finds support for her claim has been expressly disagreed with

by the Fifth Circuit in U.S. v. Reasor, 418 F.3d 466, 469 n.4 (5th Cir. 2005). Among other things,

the Reasor court held that guilty plea was invalid because the factual basis failed to provide any

evidence that the forged check drawn against a church’s account had any impact on interstate

commerce. Smith also cites Reasor as being favorable to her position. Reasor, however, is

distinguishable. The holding in Reasor was based upon the court’s finding that a church is not an

“organization” within the meaning of Section § 513 because the church did not have “operations in

or activities affecting interstate commerce.” Id. at 473. Further, the Reasor court found that the



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          Smith contends that she had asked for another attorney but the court never addressed
her request. The docket reveals that her assertion is incorrect. Her letter was filed by the court
on July 7, 2006. An order was issued on July 17, 2006 denying her request for appointment of a
different attorney.

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indictment was drawn very narrowly allowing the government to prove its case based on one factual

pattern as opposed to choosing from several alternatives. Id. at 477.

         Here, the indictment specifically identified several banks as well as the ultimate “victim” of

the scheme, Certergy Incorporated, that were defrauded by Smith and her codefendants. The count

to which Smith plead guilty specifically identifies Certergy and First State Bank. The factual basis

provided at the plea hearing also identified First State Bank. Plea Hrg. p. 26:12-25. Either or both

of these entities are clearly “organizations” for the purposes of Section 513. See U.S. v. Hanson, 132

Fed. Appx. 981, 2005 WL 1332607 (3d Cir. Jun. 7, 2005) (checks drawn on fictitious personal

accounts of a legitimate bank were instruments of an “organization.”); U.S. v. Jackson, 155 F.3d

942, 946 (8th Cir. 1998) (banks holding the accounts from which defendant drew counterfeit checks

were “organizations” for purposes of Section 513) (citing U.S. v. Chappell, 6 F.3d 1095 (5th Cir.

1993)). Accordingly, Smith’s argument has no merit. An attorney cannot be deemed ineffective

for failing to present a legally meritless or futile argument. U.S. v. Wilkes, 20 F.3d 651, 653 (5th Cir.

1994).

         Additionally, the court notes that Smith was given ample opportunity to object to her

attorney’s performance prior to sentencing. For instance, the court specifically asked Smith “are you

satisfied with your attorney’s representation of you; that it, do you believe that he has competently

represented your best interest in the matter?” Plea Hrg. p. 4:4-7. Smith responded affirmatively.

Id. Smith was also given the opportunity to address the court during sentencing but mentioned

nothing of attorney’s performance. Sent. Hrg. pp. 2:18-25 to 3:1-2 (Sept. 19, 2006).

         Formal declarations in open court are entitled to a strong presumption of truthfulness.

Blackledge v. Allison, 431 U.S. 63, 74, 97 S.Ct. 1621, 52 L.Ed.2d 136 (1977). Smith’s sworn


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statements in open court contradict her “last gasp” claim of ineffective assistance.



                                           C. Conclusion

       For all the foregoing reasons, Smith’s motion to vacate will be denied. The claims

neither singularly or collectively are sufficient to warrant federal habeas relief.

       A final judgment shall issue in accordance with this opinion.

       This the 10th day of October, 2008.



                                                       /s/ W. Allen Pepper, Jr.
                                                       W. ALLEN PEPPER, JR.
                                                       UNITED STATES DISTRICT JUDGE




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